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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 17-cv-21955-GAYLES


   MARIE L. JEAN PIERRE,

            Plaintiff,

                  v.

   PARK HOTELS & RESORT, INC., a
   foreign corporation f/k/a HILTON
   WORLDWIDE, INC.,

            Defendant.
                                                      /

                                                ORDER

          THIS CAUSE comes before the Court on Defendant Park Hotels & Resorts Inc., f/k/a

  Hilton Worldwide, Inc.’s, Motion for Judgment as a Matter of Law or, in the Alternative, for a

  New Trial [ECF No. 138] and Motion for Remittitur [ECF No. 139]. The Court has reviewed the

  Motions, the parties’ written submissions, and the applicable law and is otherwise fully advised.

  For the following reasons, Defendant’s Motion for Judgment as a Matter of Law or, in the

  Alternative, for a New Trial is denied, and Defendant’s Motion for Remittitur is granted in part

  and denied in part.

     I.      Motion for Judgment as a Matter of Law or, in the Alternative, for a New Trial

          Defendant’s Motion for Judgment as a Matter of Law or, in the Alternative, for a New Trial

  makes three primary arguments, none of which are availing. First, resubmitting the first

  inconsistent verdict to the jury was an appropriate step that resulted in a second consistent verdict.

  “A verdict contains an inconsistency if answers given by the jury ‘may [not] fairly be said to

  represent a logical and probable decision on the relevant issues as submitted.’” Wilbur v.
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  Correctional Servs. Corp., 393 F.3d 1192, 1200 (11th Cir. 2004) (quoting Aquachem Co. v. Olin

  Corp., 699 F.2d 516, 521 (11th Cir. 1983)). In cases where the jury has entered a finding of

  damages, but not a finding of liability, the Eleventh Circuit has noted that resubmission to the jury

  with instructions to reconsider is appropriate—a procedure which was followed here without

  objection. Id. at 1203–04; see also Fed. R. Civ. P. 49(b)(3)(B). Accordingly, judgment shall not

  be entered in Defendant’s favor on the first verdict. Second, Defendant is not entitled to judgment

  as a matter of law on the causation prong of Plaintiff’s retaliation claim. A party is entitled to

  judgment as a matter of law if “a reasonable jury would not have a legally sufficient evidentiary

  basis” to find for the opposing party. Fed. R. Civ. P. 50(a)(1). In addition, for the Court to grant a

  new trial “the evidence must preponderate heavily against the verdict, such that it would be a

  miscarriage of justice to let the verdict stand.” Butcher v. United States, 368 F.3d 1290, 1297 (11th

  Cir. 2004) (quoting United States v. Martinez, 763 F.2d 1297, 1312–13 (11th Cir. 1985)). The

  Court finds that the jury's verdict was supported by the evidence. The jury could have found that

  Defendant’s purported reasonable accommodation was pretext that created grounds for Plaintiff’s

  firing—in other words, a retaliatory firing for her requests to practice her religion. Finally, a new

  trial is not warranted. Defendant cites no highly prejudicial error warranting a new trial. Based on

  the evidence presented, a jury could find that Defendant’s conduct qualified as recklessly

  indifferent such that punitive damages were warranted. Accordingly, the Court declines to disturb

  the jury’s verdict.

      II.      Motion for Remittitur

            Defendant’s Motion for Remittitur is similarly unavailing, save for its argument on the

  legal constraints for punitive damages under Title VII. As the parties agree that the punitive award

  should be reduced to the statutory maximum of $300,000, the Court shall grant Defendant’s
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  Motion on that ground. But the Court otherwise declines to otherwise reduce the award of

  damages. “A remittitur order reducing a jury’s award to the outer limit of the proof is the

  appropriate remedy where the jury's damage award exceeds the amount established by the

  evidence.” Rodriguez v. Farm Stores Grocery, Inc., 518 F.3d 1259, 1266 (11th Cir. 2008) (quoting

  Goldstein v. Manhattan Indus., Inc., 758 F.2d 1435, 1448 (11th Cir.1985)). Here, the evidence

  established that Plaintiff suffered emotional distress, humiliation, and loss of wages. The jury

  found those damages substantial enough to award her $500,000.00 in compensatory damages. See

  Ferrill v. Parker Grp., Inc., 168 F.3d 468, 476 (11th Cir. 1999) (noting that in upholding

  compensatory damages award that harm is subjective and its evaluation is dependent on the

  witness’s demeanor). Accordingly, the Court shall not disturb the jury’s award of compensatory

  damages.

                                          CONCLUSION

         For the foregoing reasons, Defendant’s Motion for Judgment as a Matter of Law or, in the

  Alternative, for a New Trial [ECF No. 138] is DENIED, and Defendant’s Motion for Remittitur

  [ECF No. 139] is GRANTED IN PART AND DENIED IN PART. The award of punitive

  damages shall be reduced to $300,000, bringing Plaintiff’s total award to $836,000. Additionally,

  this case shall be ADMINISTRATIVELY CLOSED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 31st day of July, 2019.




                                              ________________________________
                                              DARRIN P. GAYLES
                                              UNITED STATES DISTRICT JUDGE
